
THORNE, Judge
(dissenting):
1 46 I respectfully dissent from the majority's decision. I disagree with the majority's determinations regarding the juvenile court's conclusion that Mother has failed to accomplish the necessary parental adjustment required by the applicable section of the Utah Code and further disagree that it has been adequately demonstrated that she is an unfit parent.
I. The Juvenile Court's Parental Adjustment Determination
$47 The juvenile court determined that Mother had failed to parentally "adjust" based on her inability or failure to secure stable employment or suitable housing. Additionally, the juvenile court was troubled that her living situation with Boyfriend did not evidence stability. Although Mother's employment and housing situation are far from ideal, they are not, in my opinion, evidence of failure of parental adjustment in this matter or sufficient justification for terminating the natural parent-child relationship.
"Failure of parental adjustment" means that a parent or parents are unable or unwilling within a reasonable time to substantially correct the circumstances, conduct, or conditions that led to placement of their child outside of their home, notwithstanding reasonable and appropriate efforts made by the Division of Child and Family Services to return the child to that home.
Utah Code Aun. § 78A-6-502(2) (LexisNexis 2012) (emphasis added).
{48 Here, K.J. was placed in the custody of the Division based upon the juvenile court's adjudication of K.J. as abused and neglected. The Plan the juvenile court adopted included multiple requirements; many focused on improving Mother's general parenting issues and reducing the risk of future abuse and neglect of K.J. In particular, the Plan required Mother to complete (1) an age appropriate parenting course; (2) an anger management course and follow all recommendations; and (8) a mental health evaluation and follow all recommendations. *1216The Plan also prohibited Mother from using physical discipline on the child. After trial, the juvenile court determined that Mother had completed a parenting course through the peer parent program, submitted to a mental health assessment and participated in individual therapy following the recommendations of the assessment, and completed an anger management course. By timely completing all of the Plan's requirements designed to address Mother's parenting deficiencies, Mother has for all intents and purposes substantially corrected the very circumstances, conduct, and conditions that led to K.J.'s placement outside of Mother's home. Indeed, the juvenile court acknowledged that Mother had complied with the majority of the service plan except for two factors-stability of income and housing-both of which are unrelated to the reasons for the child's removal.17 Furthermore, trial testimony supports that Mother has corrected the parenting issues that led to K.J.'s removal from Mother's care in the first place.18
1 49 Although the Plan required Mother to obtain stable income and housing, the supposed failure of these requirements does not, in this case, demonstrate Mother's failure to parentally adjust. The juvenile court did not place K.J. in the Division's custody based on Mother's lack of stable income and housing, nor did the court determine that said instability created or substantially caused Mother's parenting issues. Instead, the court placed the child in the custody of the Division based on its determination that the child, who had suffered numerous trauma-inflicted injuries, was abused and neglected. It was improper for the court to determine that Mother had failed to adjust based on financial stability-factors unrelated to circumstances that led to the child's placement outside of the home-when Mother completed all the requirements geared toward protecting the child from abuse and neglect.
1 50 Moreover, given Mother's immigration status, the Plan's requirement that Mother obtain employment and essentially procure independent housing is effectively designed for failure as it is legally impossible for Mother to comply with either of these requirements.19 "[UJnder federal immigration law, only immigrant aliens and nonimmigrant aliens with special permission are entitled to work." Plyler v. Doe, 457 U.S. 202, 240 n. 6, 102 S.Ct. 2382, 72 L.Ed.2d 786 (1982) (Pow*1217ell, J., concurring) (citing 1 C. Gordon &amp; H. Rosenfield, Immigration Law and Procedure, §§ 1.342., 1.36, 2.6b (1981)); see also 8 U.S.C. § 18242 (making employment of aliens unlawful). The Juvenile Court Act requires the juvenile court to "provide a fundamentally fair process to a parent if a party moves to terminate parental rights." Utah Code Ann. § 78A-6-508(2) (LexisNexis Supp.2013). Mother is faced with two unacceptable alternatives: work, and by so doing commit a crime, or not work and lose her child. It is unfair to implement a plan that precludes a parent's lawful compliance. The implementation of the Plan in this case prevented Mother from receiving a fair opportunity to reunite with her child.
1[ 51 Here, Mother had no means of achieving the financial requirements of the Plan, and it is unjust to implement a plan that precludes a parent's compliance. Such a plan specifically puts Mother at risk of losing her child and puts the immigrant population in particular risk of losing their children, based primarily on their illegal status and an inability to lawfully obtain stable employment and housing despite any efforts towards or demonstration of parental adjustment. In effect, the juvenile court's termination determination was based on Mother's immigration status in that Mother cannot legally obtain employment and acceptable housing due to her status as an illegal resident. Indeed, several other courts around the country have considered the relevance of illegal status, with the majority concluding that illegal status and deportation are not in themselves grounds for the termination of parental rights. See In re M.M., 268 Ga.App. 353, 587 8.E.2d 825, 832-33 (2008) (concluding that the evidence was insufficient to terminate a Mexican's parental rights when the basis was the father's illegal status in this country and the possibility that he could be deported); In re Angelica L.., 277 Neb. 984, 767 N.W.2d 74, 94-96 (2009) (concluding that the evidence was insufficient to terminate a Guatemalan's parental rights on the basis of twice failing to provide a child with adequate medical care and subsequent deportation on the basis of living illegally in this country); In re E.N.C., 384 S.W.3d 796, 805, 806 n. 183 (Tex.2012) (determining that the mere threat of deportation resulting from an unlawful act does not in itself establish endangerment and providing a summary of court decisions considering illegal status and deportation in parental rights termination proceedings).
1 52 Finally, there is some question whether a natural parent's rights can be terminated merely because he or she is not financially or emotionally capable of parenting the child at the time of the termination hearing. See In re C.J.V., 323 Ga.App. 283, 746 S.E.2d 783, 790-91 (2018) (Dillard, J., concurring specially); see also id. at 788-89 ("Indeed, the notion that parental rights can be terminated, in part, because a parent has failed to secure independent housing, stable employment, or work on 'vocational rehabilitation' (or the like) is not only patently unconstitutional but morally repugnant-as such 'goals,' infer alia, disproportionately discriminate against those who are socioeconomically disadvantaged." (footnote omitted)). As such, it is wrong to justify Mother's termination of her parental rights based on the fact that she has had to live with different people and depend on others for financial support. See id. ("I find it deeply troubling that both the trial court and dissent justify the termination of the mother's parental rights, in part, because she has moved from place to place, lived with different people, [and] depended on others for financial support[.]"). A family's financial situation should not be a basis for termination. Cf. Division of Youth &amp; Family Servs. v. P.W.R., 205 N.J. 17, 11 A.3d 844, 856-57 (2011) (holding that a family's tight financial situation is not a proper basis to remove a child from the home). Despite familial financial difficulties, children should be given the benefit of being raised by their parents and parents should be allowed to raise their children free from state interference. See id. at 856 ("Despite financial difficulties, many parents have raised children appropriately free from state interference."); see also In re C.J.V., 746 S.E.2d at 790 (Dillard, J., concurring specially) ("The State's primary goal must be to maintain and preserve the natural parent-child relationship, not to act as a clandestine adoption agency.").
*1218The overarching question in a termination proceeding is not whether the child has a model parent, or even whether that parent is presently capable of taking his or her child back in custody, but is instead whether the natural parent-child relationship has been irretrievably damaged as a result of the parent's unwillingness or inability to care for the child-i.e., that the continuation of the natural parent-child relationship, as it presently exists with the child in the custody of the State, is causing or is likely to cause that child serious harm.
In re C.J.V., 746 S.E.2d at 790 (Dillard, J., concurring specially) (citation and internal quotation marks omitted).
1 53 To permit state interference based on a parent's financial ability also disproportionately discriminates against single-parent families. A large share of single-parent families live at or below the poverty level when compared to all other families. Jason M. Merrill, Note, Falling Through the Cracks: Distinguishing Parental Rights from Parental Obligations in Cases Involving Termination of the Parent-Child Relationship, 11 J.L. &amp; Fam. Stud. 208, 210 (2008) (citing Barbara R. Rowe &amp; Kay W. Hansen, Child Support Awards in Utah: Have Guidelines Made a Difference?, 21 J. Contemp. L. 195, 195 (1995)); see also id. ("Nationally, it is much more likely for children living in single parent households to live in low-income families." (citing Rhode Island Kids Count, 2008 Rhode Island Kids Count Factbook 10-11 (2008) (citing national statistics regarding single-parent families from the 2006 U.S. Census Bureau American Community Survey))). Moreover, 68% of Hispanic/Latino children live in low-income families. Martin Westerman, The Interplay of Poverty and Child Welfare, The Connection (Nat'l Court Appointed Special Advocate Ass'n), Fall 2006, at 7, 10. Mother, a young single-parent illegal immigrant, is severely limited financially, and it is patently unfair and unjust to terminate her parental rights based on her poverty. This is especially true given the fact that Mother has corrected the parenting issues that instigated the removal of K.J. from Mother's care.
154 As detailed above, I would hold that the juvenile court erred by basing its parental adjustment determination on factors not in Mother's control and not directly related to the reason for removal of K.J. from Mother's care. I would, therefore, remand the matter to the juvenile court to determine whether Mother substantially corrected the parenting issues that led to the initial placement of K.J. in the Division's care.
IL The Juvenile Court's Unfit Parent Determination
155 I also disagree with the majority's determination that the juvenile court properly relied upon Mother's failure to pay child support as evidence that she was unfit pursuant to Utah Code section T78A-6-508. See supre ¶ 34. The juvenile court determined that Mother was an unfit parent based on her failure to contact ORS to establish support and pay child support even during the times when Mother was employed and living with Boyfriend. See supra 138. Once again, Mother, due to her immigration status, is placed in a difficult situation wherein she is asked to contact an official government office, disclose her status, and hope that she is not then involuntarily transported hundreds of miles from her child. In addition, it is impossible for her to legally comply with the Plan's requirement that she contact ORS and pay child support as evidence of parental fitness.20 The majority argues that "Mother, represented by counsel, agreed in mediation to eccooperate with the Division in developing a service plan as described in the State's verified petition, which included the stable income and housing requirements and the child support requirement." Supre T31. There *1219are no findings pertaining to the cireum-stances of the mediation. As such, we do not know whether Mother (1) understood the terms of the service plan, (2) accepted the terms out of intimidation, or (8) failed to express the impossibility of the specific provisions out of a fear of losing her parental rights based on such issues. Thus, absent a juvenile court determination following an evi-dentiary hearing, it is not appropriate to rely on a presumption that Mother voluntarily agreed to the provisions of the service plan in this instance. The child support requirements of the Plan are tantamount to ordering Mother to undertake and document illegal actions that may subject her to deportation and require her to obtain or continue employment, without the required documentation, or risk losing her parental rights of K.J. Under those parameters, there is nothing Mother can legally do to satisfy the juvenile court's requirement of employment or securing an income stream so as to pay child support. Indeed, I believe the juvenile court erred by taking such a constrained view of the parental fitness factors contained in Utah Code section 78A-6-508(2)(d).
156 Under Utah Code section 78A-6-508(2)(d), the juvenile court is required to consider, in its determination of whether a parent is unfit, "repeated or continuous failure to provide the child with adequate food, clothing, shelter, education, or other care necessary for the child's physical, mental, and emotional health and development by a parent or parents who are capable of providing that care." Utah Code Ann. § 78A-6-508(2)(d) (LexisNexis 2012). Although it may not be possible for Mother, due to her immigration status, to provide K.J. with the basic necessities without outside assistance, this does not mean that she is not capable of making sure her child's needs are met. Requiring Mother, under these cireumstances, to solely and independently provide for her child's care bases termination of her parental rights on her lack of legal income despite Mother's significant efforts at parental adjustment and the utilization of other means that may be available to assist her in taking care of her child until such time as either her immigration status changes to allow employment within the United States or she returns to her country of origin. See Plyler v. Doe, 457 U.S. 202, 240 n. 6, 102 S.Ct. 2382, 72 L.Ed.2d 786 (1982) (Powell, J., concurring) ("[UJnder federal immigration law, only immigrant aliens and nonimmigrant aliens with special permission are entitled to work."). Given Mother's cireamstances,21 it is unjust and unfair to terminate her parental rights simply because she is not in a position to financially provide for her child in the exact manner set out by the court. The statute does not require Mother to be a perfect *1220parent. Cf. Utah Code Ann. § 78A-6-508(4) (LexisNexis Supp.2018) ("The fundamental liberty interest of a parent concerning the care, custody and management of the parent's child is recognized, protected, and does not cease to exist simply because a parent may fail to be a model parent. ...").
157 As such, if Mother is able to provide for her child's needs by whatever legal means are available to her, she should not be deemed unfit simply because she is personally unable to provide for the support of her child. As a result, I would remand the case to the juvenile court to consider all the factors-not just her failure to pay child support to ORS-relevant to determine whether Mother is able to secure the resources required to provide care for her child. Being an illegal immigrant and poor should no longer provide a legitimate basis for permanently depriving a child of his or her parent or parents and replacing them with a more financially-advantaged substitute. This is not a case where the state has decided that a parent is beyond redemption; this is a private action by people of means seeking to claim a child.
158 In addition, it is not necessary to reach the issue as to whether or not the Juvenile Court Act's timelines are applicable in this proceeding. In my opinion, application of the Act's timelines governing the time permitted to remedy the problem necessitating intervention under either my or the majority's analysis of the termination of parental rights issue, would not change the result given the circumstances in this matter.22 This is not a timelines case. The termination proceedings in this case did not go beyond the Act's timelines, and the juvenile court had the information before it to decide the parental rights issue without delaying the proceedings. Thus, this case is not the appropriate occasion to announce the application of the Act's timelines to a private petition for termination of parental rights as the majority has chosen to do.
TH. Summary
€ 59 The juvenile court found that Mother had complied with the Plan's requirements that were directly related to the problems that necessitated the original removal. It was not, therefore, proper for the court to base its failure of parental adjustment decision on requirements unrelated to the problems which caused the initial removal. Additionally, the court erred by failing to consider all of the cireumstances related to whether Mother is able to provide for her child. The outcome of this case is not affected by the application of the Act's timelines, and it is improper for this court to consider that issue. I dissent and would remand to the juvenile court for further consideration.

. The juvenile court did also tangentially note thai no evidence was presented that Mother is capable of parenting the child and that there has been no opportunity for Mother to demonstrate that she is able to incorporate what she has learned. However, the evidence before the juvenile court demonstrates that Mother completed all of the Plan's requirements focused on her parenting issues and as a result has corrected the circumstances, conduct, or conditions that led to K.J.'s removal from her home. Foster Parents did not allege in their termination petition or present evidence at the termination hearing that Mother had failed to correct the behavioral circumstances that led to the removal of the child from Mother.


. Dr. Marie Green has a doctorate in social work. She conducted a psychological evaluation of Mother and provided approximately fifteen therapy sessions to Mother. Dr. Green testified at the termination hearing that she believed Mother has accepted responsibility for her abuse of K.J. She further testified that Mother's abuse of K.J. can be explained by the fact that K.J. was born premature with high needs and that Mother was young, inexperienced, and without support. Dr. Green opined that Mother has matured, learned better ways to deal with her stress, and is better prepared to parent K.J. In addition, Dr. Green did not believe that Mother would harm the K.J. should she be returned to Mother's care.
The caseworker, Christina Duke, testified at the termination hearing that it is in K.J.'s best interest that the court return custody and reunify Mother and the child subject to conditions. The conditions included a slow transition of the child into Mother's care in the United States before having Mother and the child move to Mexico to live with K.J.'s maternal grandmother. The caseworker's recommendation that Mother and the child move to Mexico appears to be based on the stable family support-both emotional and financial-available to Mother in Mexico. The caseworker further testified that Mother's current home was appropriate and that she believed that the child would be safe with Mother. Specifically, the caseworker responded, "[Y¥Jes. I think so," to the question, "If [Mother] had her own apartment and it was just [Mother], her child and then [K.J.], do you think [K.J.] being returned to [Mother] with just her other child there, that [K.J.] would be safe in that environment?"


. The Plan required Mother to "maintain suitable housing and stable employment" and contact ORS regarding support for the child, and establish and pay child support.


. The majority declines to consider whether the impossibility exception is applicable to Mother's requirement to pay child support, deciding instead that Mother has failed to preserve this issue. See supra 131. Because the impossibility of compliance in this matter is so intertwined in the underlying issue of unfitness, this court should consider it despite any possible preservation problems. See generally Patterson v. Patterson, 2011 UT 68, ¶ 13, 266 P.3d 828 ("Our preservation requirement is self-imposed and is therefore one of prudence rather than jurisdiction. Consequently, we exercise wide discretion when deciding whether to entertain or reject matters that are first raised on appeal.").


. In a case similar to ours, absent the immigration issue, where the mother was impoverished, Judge Dillard of the Georgia Court of Appeals observed,
In other words, the mother is really, really poor.
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Indeed, the notion that parental rights can be terminated, in part, because a parent has failed to secure independent housing, stable employment, or work on "vocational rehabilitation" (or the like) is not only patently unconstitutional but morally repugnant-as such "goals," inter alia, disproportionately discriminate against those who are sociceconomically disadvantaged. To be sure, securing independent housing, stable employment, and furthering one's job training or education are commendable goals, and there is nothing inherently wrong with the government encouraging the citizens it serves to better their lives. What the government is not entitled to do, regardless of any apparent statutory authority for doing so, is to force some generalized, bureaucratic, Orwellian notion of parenting onto citizens who have temporarily lost custody of their children as a precondition to regaining custody of those children. Indeed, I find it deeply troubling that both the trial court and dissent justify the termination of the mother's parental rights, in part, because she has moved from place to place, lived with different people, depended on others for financial support, and failed to provide toys for her children. The State has no right to irrevocably sever the natural parent-child relationship simply because a parent is incapable of providing her children with an idyllic middle-class lifestyle.... The State's primary goal must be to maintain and preserve the natural parent-child relationship, not to act as a clandestine adoption agency.
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An order terminating parental rights is the death penalty of civil cases, and this Court should start treating it as such.
In re C.J.V., 323 Ga.App. 283, 746 S.E.2d 783, 788-91 (2013) (Dillard, J., concurring specially) (emphasis and footnotes omitted) (emphasis added).


. Iam not convinced that the timelines imposed by the Act on the underlying reunification proceedings are applicable when a private termination petition has been filed.

